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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

SYED A. ALI,                              )
                                          )
             Plaintiff,                   )
                                          )
            v.                            )      Case No. 1:15-cv-06178
                                          )
PORTFOLIO RECOVERY ASSOCIATES,            )      Judge Sharon Johnson Coleman
LLC, and BLITT & GAINES, P.C., and        )
FREEDMAN ANSELMO LINDBERG, LLC            )      Magistrate Judge Daniel G. Martin
n/k/a ANSELMO LINDBERG OLIVER,            )
LLC,                                      )
                                          )
             Defendants.                  )
                                          )
YASMEEN ALI, as natural parent and best   )
friend of SHA, a minor,                   )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )
                                          )      Case no: 15-cv-11582
                                          )
PORTFOLIO RECOVERY ASSOCIATES,            )
LLC and SANJAY S. JUTLA, and KEVIN J.     )
EGAN,                                     )
                                          )
            Defendants,                   )
SYED A. ALI,                              )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )
                                          )      Case No. 16-cv-03872
                                          )
PORTFOLIO RECOVERY ASSOCIATES,            )
LLC and KEVIN J. EGAN,                    )
                                          )
             Defendants,                  )
                                          )
                                          )




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SYED A. ALI                    )
                               )
          Plaintiff,           )
                               )
     v.                        )
                               )
                               )                              Case No. 1:16-cv-01581
PORTFOLIO RECOVERY ASSOCIATES, )
LLC                            )
                               )
          Defendants,          )
                               )
                               )

    DEFENDANT FREEDMAN ANSELMO LINDBERG, LLC N/K/A ANSELMO
LINDBERG OLIVER, LLC’S REPLY IN FURTHER SUPPORT OF ITS MOTION FOR
                      ENTRY OF BILL OF COSTS

        Defendant, FREEDMAN ANSELMO LINDBERG, LLC n/k/a ANSELMO LINDBERG

OLIVER, LLC (“Defendant”), by and through its attorneys, David M. Schultz, Justin M. Penn,

and Joseph D. Kern of Hinshaw & Culbertson LLP, submits this reply in further support of its

motion for entry of bill of costs.

                                         INTRODUCTION

        On October 9, 2018, Defendant, the prevailing party in this matter, filed a bill of costs

seeking $3,561.87 in costs. See Dkt. 255. Plaintiff concedes Defendant is entitled to $2,671.37

of the $3,561.87. See Dkt. 282. Plaintiff objects to the remaining $890.50. Id.

        Plaintiff first objects to costs in the amount of $139.15 that Defendant paid for court

transcripts from two hearings before Honorable Sidney I. Schenkier.1 Plaintiff claims Defendant

had no reason to order these transcripts. Plaintiff is wrong. As explained below, Defendant

needed these transcripts to respond to a motion Plaintiff chose to file rather than make any




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  While this is a consolidated action with multiple plaintiffs, only one plaintiff, Syed A. Ali, brought
claims against Defendant.

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attempt to “meet and confer” to clear up the confusion that was at issue. A simple phone call

could have avoided theses costs.

       Defendant next objects to costs in the amount of $751.35 that Defendant incurred to

obtain deposition exhibits that were included with necessary deposition transcripts. Plaintiff

concedes (as he must) that the rules allow Defendant to recover costs for the transcripts

themselves, but objects solely on the basis that rules do not allow a party to recover costs

incurred to obtain deposition exhibits. Plaintiff is wrong again, and courts in this district

routinely award costs for deposition exhibits.

                                           ARGUMENT

       A.      A Phone Call by Plaintiff’s Counsel Could Have Avoided the Need for
               Defendant to Order the Court Transcripts at Issue.

       Defendant seeks to recover $139.15 in costs it incurred for having to obtain transcripts of

court proceedings on May 15, 2016 and May 31, 2016 before Judge Shenkier. Plaintiff objects

to this request on the basis that “[i]t is unclear specifically what purpose [Defendant] sought”

these transcripts. See Dkt. 282 at 2. But, it was Plaintiff’s own conduct (or lack thereof) that

resulted in Defendant needing these transcripts.        Plaintiff’s counsel’s choice to engage in

unnecessary motion practice rather than make any attempt to “meet and confer” is the basis for

this request. Plaintiff cannot now object to the cost of those transcripts.

       By way of background, on April 25, 2016, the Court entered an order consolidating case

numbers 15-cv-11582, 16-cv-01581, and 16-cv-3872 into the instant case. See Dkt. 66. Prior to

the consolidation order, Defendant timely answered Plaintiff’s then operative complaint, which

was twenty-six pages, on November 30, 2015. See Dkt. 39. After the Court reassigned the

above cases and consolidated them into this case, the Court provided the plaintiffs an opportunity

to file an amended consolidated complaint. The parties discussed the potential filing of a


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consolidated complaint before Judge Schenkier on May 12, 2016. See Dkt. 108 at 2-3 (May 12,

2016 Transcript). As of that date, the consolidated complaint had not been filed. Id. It was the

parties’ and Judge Shenkier’s understanding that any consolidated complaint (if filed) would not

add new allegations or claims but merely act to consolidate all matters into a single complaint.

Id. Judge Schenkier then asked Defendant’s counsel if Defendant intended to amend its answer

upon the filing of a consolidated complaint.        Id.   Based upon the understanding that any

consolidated complaint would not add new allegations or claims, but only act to consolidate the

already pending allegations and claims, Defendant’s counsel indicated that she did not anticipate

needing to amend Defendant’s answer. Id.

        The plaintiffs eventually filed a consolidated complaint on May 18, 2016, which was

more than double in length at fifty-seven pages than the earlier complaint Defendant already

answered which was twenty-six pages. See Dkt. 74. Due to the parties’ prior discussions before

Judge Schenkier, and due to the confusion created regarding the above consolidation of cases

and filing of a consolidated complaint, Defendant did not amend its answer in response to the

consolidated complaint.    Rather than call Defendant’s counsel to attempt to clear up any

confusion or make any attempt to “meet and confer” on the issue, Plaintiff’s counsel unilaterally

chose to file motions seeking to default two of the defendants.2 See Dkt. 91 and 92. Plaintiff’s

counsel filed the motions on October 6, 2016 and noticed them for hearing on October 12, 2016.

See Dkt. 94.

        The above events and timeline of those events resulted in Defendant having to order the

transcripts for May 12, 2016 and May 31, 2016 hearings before Judge Schenkier. Defendant

needed these transcripts to respond to Plaintiff’s motion, and they had to be expedited in order to


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  Discovery was set to close on November 9, 2016. As such, Plaintiff may have filed the motion to
provide some sort of basis to justify a discovery extension.

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prepare for the October 12, 2016 hearing. In particular, Defendant needed the transcripts to

confirm its recollection and explain to the Court what transpired at those hearings and whether or

not Defendant needed to file an amended answer upon the filing of a consolidated complaint.

Defendant also needed to order the transcripts on an expedited basis due to the fact that

Plaintiff’s counsel set the motion for default for hearing only three business days after he filed it.

Put simply, Defendant needed the transcripts on an expedited basis to avoid a default, which

would have substantially prejudiced its ability to defend against Plaintiff’s claims.

        For the above reasons, the Court should reject Defendant’s objection to the $139.15 and

award those costs to Defendant. At a minimum, the Court should award $83.95, which would

have been the cost of ordering the transcripts on a non-expedited basis. See Dkt. 282 at 2.

        B.     Courts Routinely Award Costs for Deposition Exhibits

        Defendant concedes that, as a general rule, costs incurred to obtain depositions transcripts

are recoverable. See Dkt. 282. Thus, he does not object to Defendant’s request that the Court

award costs associated with the deposition transcripts themselves. Id. Instead, Plaintiff objects

to $751.35 in costs he alleges Defendant incurred to obtain exhibits attached to certain deposition

transcripts.   Id.   Plaintiff claims that costs associated with deposition exhibits are not

recoverable. Id. Plaintiff is dead wrong.

        Not surprisingly, Courts in this district routinely award prevailing parties costs for

deposition exhibits. See Harkins v. Riverboat Servs., Inc., 286 F.Supp.2d 976, 980 (N.D. Ill.

2003) (awarding costs for deposition exhibits); AMC v. Intercontinental, 2010 U.S. Dist. LEXIS

121196, *4 (N.D. Ill. 2010) (awarding costs for deposition exhibits).           These decisions are

consistent with Rule 54(d)(1) and Local Rule. 54.1(b), which expressly allow a prevailing party

to recover costs incurred in “obtaining all or any part of a transcript for use in a case . . .” L.R.



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54.1(b); see also Fed. R. Civ. Pro. 54(d)(1). This includes costs for deposition exhibits. See

Harkins, 286 F.Supp.2d at 980; AMC, 2010 U.S. Dist. LEXIS 121196 at 4. The reasoning

behind awarding these costs is sound. The costs associated with the time in re-assembling and

re-gathering copies of exhibits, coupled with the risks of assembling inaccurate copies, is

avoided. This conclusion is especially true now, where transcripts (and the corresponding

exhibits) are delivered electronically.

         Here, all of the deposition transcripts and related exhibits now at issue were essential to

Defendant’s defense of this case. In particular, these transcripts and exhibits were critical to

Defendant in preparing its motion for summary judgment and responding to Plaintiff’s cross-

motion for summary judgment. Under the circumstances, the rules expressly allow Defendant to

recover such costs. See Harkins, 286 F.Supp.2d at 980; AMC, 2010 U.S. Dist. LEXIS 121196 at

4.

                                          CONCLUSION

         For the above reasons, Defendant respectfully requests that the Court award Defendant

costs in the amount of $3,561.87 as requested in its bill of costs filed on October 9, 2018. See

Dkt. 255.




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                                            Respectfully submitted,

                                            FREEDMAN ANSELMO LINDBERG, LLC
                                            N/K/A ANSELMO LINDBERG OLIVER,
                                            LLC

                                            /s/ Joseph D. Kern
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                               CERTIFICATE OF SERVICE

        I, Joseph D. Kern, an attorney, certify that on February 15, 2019, caused to be served a
copy of the foregoing DEFENDANT FREEDMAN ANSELMO LINDBERG, LLC N/K/A
ANSELMO LINDBERG OLIVER, LLC’S REPLY IN FURTHER SUPPORT OF ITS
MOTION FOR ENTRY OF BILL OF COSTS by: depositing same in the U.S. Mail box at
151 North Franklin Street, Chicago, Illinois 60606, prior to 5:00 p.m., postage prepaid;
messenger delivery; UPS; facsimile transmitted from (312) 704-3001; email; or electronically
via the Case Management/Electronic Case Filing system (“ECF”), as indicated below.

       ECF
       Facsimile
       UPS
       U.S. Mail
       E-Mail
       Messenger Delivery


To: All Parties of Record



                                               /s/ Joseph D. Kern
                                               Joseph D. Kern




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